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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

                                                            Civil No. 20-_______

 MR. and MS. DOE, individually          )
 and as parents and next friends of     )
 JOHN DOE, a minor,                     )
                                        )
              Plaintiff,                )
                                        )
       v.                               )
                                        )
 PORTLAND PUBLIC SCHOOLS,               )
                                        )
              Defendant.                )
                                        )


                                  COMPLAINT
                     (Jury Trial Demanded on Counts II–III)
                   (Injunctive Relief Requested on Count IV)

      Plaintiffs Mr. and Ms. Doe, individually and as parents and legal guardians

of John Doe, complain against the Portland Public Schools as follows:

                            PARTIES AND JURISDICTION

      1. This action seeks damages for discrimination against the Portland Public

Schools under Title II of the Americans with Disabilities Act, 42 U.S.C. §§ 12131–

12134 (“ADA”) and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794

(“Section 504”). It also seeks recovery of attorney’s fees and costs under the

Individuals with Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400 et seq., as

supplemented by Maine’s laws regarding the education of exceptional students,

20-A M.R.S.A. § 7001, et seq., and their respective implementing regulations. It also

seeks judicial review of one aspect of an administrative decision issued by a Maine
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Department of Education hearing officer pursuant to the IDEA, 20 U.S.C.

§ 1415(i)(2).

       2. Plaintiffs Mr. and Ms. Doe (the “Does”) are residents of Portland. They are

the parents and legal guardians of John Doe, a 10-year-old student with a learning

disability.

       3. In seeking relief under federal anti-discrimination laws, Plaintiffs have

exhausted their IDEA remedies, as required by 20 U.S.C. § 1415(l), by seeking and

obtaining an administrative order, in which they were the prevailing parties, from a

hearing officer appointed by the Maine Department of Education. This order issued

following an IDEA due process hearing conducted pursuant to 20 U.S.C. § 1415(f).

       4. In seeking recovery of their attorney’s fees and litigation expenses related

to the IDEA administrative proceedings, they were prevailing parties as defined by

20 20 U.S.C. § 1415(i)(3).

       5. In seeking to reverse a portion of the hearing officer’s order under the

IDEA, the Does are parties “aggrieved by the findings and decision” of a due process

hearing officer within the meaning of the IDEA, 20 U.S.C. § 1415(i)(2)(A).

       6. This Court’s subject matter jurisdiction is based upon 42 U.S.C. § 12133

(ADA); 29 U.S.C. § 794 (section 504); 20 U.S.C. §§ 1415(i)(2)(A), 1415(i)(3)(A)–(C)

(IDEA); and 28 U.S.C. § 1331 (federal question).

       7. Defendant Portland Public Schools (“Portland”) is the local education

agency responsible for providing a free appropriate education to children with

disabilities who are residents of Portland, Maine.



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      8. Portland is a recipient of federal financial assistance for purposes of

Section 504 and a public entity for purposes of the ADA.

      9. The IDEA administrative hearing in this case involved a dispute between

the parties concerning the Portland’s failure to provide John Doe with appropriate

special education services under the IDEA and Plaintiffs’ right to compensatory

education, including reimbursement of costs they incurred in connection with their

decision to enroll him unilaterally in a private special purpose school.


        LEGAL REQUIREMENTS OF APPLICABLE FEDERAL LAWS

      10. The IDEA requires that each eligible child with a disability receive a free

appropriate public education (“FAPE”). That statute’s “Child Find” provisions

require that school districts promptly refer, evaluate, and identify all potentially

eligible children with disabilities so they can receive the specialized services to

which they are entitled.

      11. Section 504 prohibits recipients of federal financial assistance, including

Portland, from engaging in intentional discrimination on the basis of disability.

      12. Title II of the ADA prohibits a public entity, including a public school

district like Portland, from engaging in discrimination on the basis of disability.


                       FACTS COMMON TO ALL COUNTS

      13. John Doe attended Portland’s East End Community School (“EECS”)

from kindergarten (2015–2016) through third grade (2018-2019).




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                              Kindergarten (2015–2016)

      14. John’s end-of-year report card from kindergarten at EECS indicated that

he was falling short of meeting EECS’s grade-specific targets for attaining basic

reading and writing skills.

      15. Worried that John may need additional literacy instruction, Ms. Doe

filled out an Educational Placement Information form as requested by Portland.

      16. Ms. Doe’s form set forth her concerns about John’s literacy development.

                              First Grade (2016–2017)

      17. John continued to struggle to read and write during first grade at EECS

(2016-2017).

      18. On March 31, 2017, Portland administered a Phonemic Awareness

Assessment to John. His scores for rhyming and alliteration were coded as “not

competent.” The District did not disclose these results to the Does.

      19. In April 2017, Portland issued a Progress Monitoring Form, which

flagged John’s literacy skills and lack of mastery of high-frequency words as areas

of concern. This form indicated that John struggled to process the visual (or

“orthographic”) components of language.

      20. Portland scheduled John to work individually with an educational

technician twice per week, to receive pull-out services away from his classroom

twice per week, and to practice high-frequency words with an AmeriCorps

volunteer. Despite these increased services, notes on the monitoring form state that

John’s reading level did not improve as a result.



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      21. Portland’s May 2017 Progress Monitoring Form continued to list John’s

deficient reading and writing skills as an area of concern. This form stated that

John read at a level below Portland’s standard for a student starting first grade.

Portland did not share this form with the Does.

      22. In June 2017, after reviewing John’s end-of-year work and realizing she

could not read anything he had written, Ms. Doe called EECS in June 2017 to

express her concerns.

      23. Ms. Doe subsequently conversed with EECS’s principal, Boyd Marley. He

advised her not to push John in learning how to read, as he believed that applying

pressure might cause John to struggle further.

      24. In advance of second grade, Ms. Doe filled out an Educational Placement

Information form, in which she suggested that John may need “a professional

evaluation to determine if he has dyslexia or some other reason for his difficulties.”

      25. Portland did not respond directly to this communication from Ms. Doe.


                             Second Grade (2017–2018)

      26. John returned to EECS for second grade (2017-2018).

      27. On September 12, 2017, the Does sent an email to Principal Marley

detailing their concerns. They expressed their belief that John required testing to

determine if he had a learning disability, that John’s literacy skills at the end of

first grade were below the standard for a student starting first grade, and that they

had not been made aware of John’s struggles until the end of the prior school year.




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      28. The Does’ email disclosed that John wrote some letters backwards and

frequently misunderstood words and pronunciation. They expressly asked for

Portland to evaluate John as soon as possible to determine if he required specialized

instruction to help close the gap between him and his peers.

      29. Having received no reply to the email for two weeks, Ms. Doe sent a

second email to Principal Marley on September 26, 2017, again asking that

Portland evaluate John’s literacy skills. Principal Marley responded the next day,

indicating that Portland’s special education office would be in contact.

      30. Portland eventually initiated a special education referral in late

September 2017. The referral document stated that John’s performance in reading

and English Language Arts fell well below expectations.

      31. Portland’s school psychologist, Dr. Ann Christie, subsequently completed

an abbreviated psychological evaluation of John. She sent her report to the Does on

December 7, 2017.

      32. Although John’s literacy deficits had prompted the Does’ request for

evaluation, Dr. Christie did not assess his ability to read, nor did she explore his

apparent underlying processing difficulty in storing and recalling the visual form of

letters and words (i.e., “orthographic processing”).

      33. In general achievement testing conducted by a Portland special educator,

John scored in the second percentile for reading comprehension and fluency.

      34. On December 14, 2017, despite John’s poor achievement scores in areas

related to literacy, Portland determined that he was not a student with a specific



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learning disability eligible for special education and related services under the

IDEA.

        35. Feeling pressured to do so, the Does agreed to go along with Portland’s

determination of IDEA ineligibility for their son.

        36. Instead of specially designed instructional services, Portland agreed to

provide only what it classified as “response to intervention services” focusing on

“attention to task accommodations,” “reading foundational skills,” and instruction

towards memorizing high-frequency words.

        37. On February 15, 2018, John’s second-grade teacher reached out to the

Does to express her concern that he was producing little written work and was

struggling to read early first grade texts.

        38. John received a score of “1” (“area of concern”) for the final two trimesters

of second grade in the area of guided reading skills and also for skills related to

spelling, punctuation, capitalization, and handwriting during the third trimester.

        39. The Does did not witness any improvement in John’s reading or writing

skills by the conclusion of second grade.


                               Third Grade (2018–2019)

        40. John returned to EECS for third grade (2018-2019). When assessed that

fall for reading skills, his scores fell in only the third percentile for his age.

        41. As of December 2018, nearly midway through third grade, John could

only successfully read materials there were at about a mid-first grade level.




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      42. By January 2019, John felt depressed. He considered himself to be

“stupid” and expressed a desire to not attend school. He came home with drawings

of sad faces with tears streaming down and wrote about how he constantly felt sad.

      43. John’s declining mental state and increasingly negative attitude towards

school weighed on his parents, causing them distress. They began bringing John to

counseling sessions to address his apparent mental health concerns.

      44. On March 29, 2019, Portland screened John for dyslexia. The screening

instrument categorized John as “at risk for dyslexia” and indicated that the next

step should be a comprehensive diagnostic evaluation of the student. Portland

neither disclosed these results to the Does, nor commenced further evaluation.

      45. As their concerns deepened, the Does brought John to the Aucocisco

School for an independent evaluation in April 2019. Aucocisco is a non-profit, state-

approved special purpose school for students with disabilities.

      46. The Aucocisco evaluator determined that John has dyslexia. He struggles

with both phonological processing (i.e., encoding and decoding the auditory aspects

of language), and orthographic processing. His orthographic deficit is severe.

      47. According to the Aucocisco evaluation, John’s literacy skills were so

delayed that he could not fluently read a pre-primer or primer passage with which

he was unfamiliar.

      48. The Aucocisco evaluation report recommended that John receive reading

intervention targeted both his phonological and orthographic processing deficits

using the Lindamood-Bell Seeing Stars instructional program.



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      49. By May 2019, John was coming home from school crying on a daily basis.

He regularly expressed frustration with his lack of progress, calling himself

“stupid,” “dumb,” and an “idiot.” In addition, other students increasingly bullied

John at school; one peer told other students not to touch John because doing so

would make them “stupider.”

      50. On May 2, 2019, the Does emailed EECS’s principal, Boyd Marley, to

inform him that John had been attending therapy sessions for months due to the

emotional distress caused by his struggles at school and the bullying that resulted.

      51. Frustrated with how Portland had abandoned John and utterly failed to

provide any instruction that targeted his orthographic processing deficit, the Does

submitted a reimbursement notice to Portland’s Director of Student Support

Services on May 3, 2019. This notice indicated their plan to place John unilaterally

at Aucocisco for Seeing Stars tutorials for a portion of each school day beginning

May 20, 2019. The notice also requested that John be re-referred for IEP eligibility.

      52. On May 6, 2019, Dr. Christie told her colleagues via email that the

Aucocisco evaluation did not indicate that John had dyslexia. On May 10, 2019, she

communicated to Portland staff that she recalled John to be a bright student who

was not engaged in the learning process, indicating that his difficulties were due to

his “not feeling challenged more than an inability to do or difficulty with the work.”

      53. In May 2019, John participated in a Portland “Reading Inventory”

assessment. His scores, which were all in the first percentile, qualified him as a

“beginning reader.”



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      54. As third grade drew to a close, EECS staff twice attempted to prove that

John could read at a level commensurate with a student halfway through second

grade. Both assessments had to be aborted because his reading performance was so

poor that it could not be scored.

      55. John started attending Aucocisco to receive Seeing Stars tutorials for four

hours per day on May 21, 2019.

      56. John responded positively to this change. He thrived in the 1:1 reading

instruction he received at Aucocisco from May through August 2019. By early

August, he had learned all English language phonemes in isolation; demonstrated

mastery of up to four syllable words for phonemic awareness; made progress in

recognizing and understanding roughly 700–800 of the most common sight words;

practiced reading in context at a fourth grade level with instructional assistance;

and had an estimated independent reading level of a student approaching the

halfway point of third grade.

      57. The Does signed a consent for evaluation form on August 26, 2019, to

facilitate Portland’s re-referral of John for IDEA eligibility.


                             Fourth Grade (2019–2020)

      58. The Does enrolled John at the Breakwater School, a private school in

Portland, for fourth grade. Breakwater offers small class sizes and more

individualized attention than EECS, but does not offer special education services.

      59. To continue John’s specialized reading instruction, the Does engaged a

former Aucocisco tutor to provide John with supplemental Seeing Stars instructions

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twice weekly. They hoped this combination of individualized attention and

specialized instruction would work well for John in fourth grade.

       60. EECS Principal Marley completed and submitted a recommendation form

in support of John’s admission to Breakwater.

       61. Breakwater developed a “School Support Plan” to provide John with

accommodations for his learning disability. Breakwater also recommended that

John receive a neuropsychological evaluation to provide more information about his

disability.

       62. The Does engaged Dr. Marcia Hunter, a licensed clinical

neuropsychologist with over forty years of experience in the mental health field, to

evaluate John.

       63. In October 2019, a Portland school psychologist assessed John. Even

though Aucocisco had specifically pointed out John’s difficulties with orthographic

processing, Portland’s evaluator opted not to use any instruments that tested for

deficits in that area.

       64. Portland’s school psychologist issued a report dated October 27, 2019. The

report recited concerns expressed by John’s Breakwater teacher that he was

performing “below expectations in listening comprehension, reading . . . and

writing”; “require[d] more one-to-one attention than other students”; and

“produc[ed] less schoolwork” than his peers.

       65. The Portland psychological report diagnosed John with ADHD

(inattentive type) and with “processing deficits in short-term working memory,



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cognitive efficiency, and number series.” Portland’s academic testing found that

John continued to score below average in reading and written expression.

      66. On November 4, 2019, Portland held an IEP Team meeting to review the

results of John’s evaluation. The Team concluded that John has a specific learning

disability and requires special education and related services through the IDEA.

      67. The Does filed an IDEA due process complaint in early November 2019,

seeking reimbursement of the expenses they had incurred for John’s Aucocisco

tutorials and compensatory educational services.

      68. By the end of 2019, the Does became convinced that, although they

appreciated the benefits of John attending Breakwater, that school could not meet

his needs given his continuing difficulties with reading and writing.

      69. Portland agreed to convene an IEP Team meeting on January 24, 2020, to

review its proposed draft IEP for John. Although the Does proposed Aucocisco as

John’s proper IEP placement, Portland rejected this suggestion.

      70. Portland’s proposed January 2020 IEP called for John to (a) attend

EECS; (b) spend 70% of his time in a regular education environment, for which he

lacked the literacy skills to benefit; and (c) receive special education reading

instruction that did not specify use of the Seeing Stars program that had proved

successful for him or any other specific program.

      71. Given the deficiencies in Portland’s IEP and placement proposal, the

Does rejected the offer and unilaterally enrolled John at Aucocisco as a full-time

student beginning in February 2020.



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      72. In March 2020, Dr. Hunter issued a report of her neuropsychological

assessment of John. Her testing found that John’s broad reading skills were at the

4th percentile, his basic reading skills were at the 8th percentile, and his reading

fluency skills were at the 3rd percentile. John scored in only the 4th percentile on a

separate orthographic processing assessment.

      73. Recognizing that John’s orthographic processing deficit underlay his

difficulties with reading and writing, Dr. Hunter recommended specially designed

instruction that closely tracked the programming offered at Aucocisco. She

advocated the use of “a systematic program that attends to underlying speech-

language issues and experiential learning styles (i.e., Seeing Stars and Lindamood-

Bell programs).” Dr. Hunter also took issue with Dr. Christie’s conclusion that

John’s lack of engagement stemmed from not being challenged and opined that

Portland’s December 2017 ineligibility decision did not “pass the straight face test.”

      74. Dr. Hunter supported John’s placement at Aucocisco, finding that

Portland’s proposed public school program and placement would be insufficient in

addressing his phonological, orthographic, and executive functioning deficits.

      75. John showed steady progress over the remainder of his fourth-grade year

at Aucocisco, even during the period of remote learning required by the COVID-19

pandemic. On testing conducted by Aucocisco on June 29, 2020, John had moved

from the first to fifth percentile in word recognition, from the fourth to twenty-first

percentile in nonsense word decoding, and from the second to fourth percentile on

an his oral reading index, despite the inherent difficulties posed by remote learning.



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      76. Based on his success at Aucocisco, the Does enrolled John in its summer

school program for three remote classes per day starting in July 2020.

                              Fifth Grade (2020–2021)

      77. John continues to attend the Aucocisco School for fifth grade (2020-2021).

He has adjusted well to his new school and continues to make progress in

developing literacy skills.

                                Due Process Hearing

      78. A hearing officer appointed by the Maine Department of Education held a

hearing on the Does’ due process complaint on July 27, 28, 30, and 31, 2020.

      79. At the hearing, Dr. Christie testified concerning the December 2017

decision not to find John to be IDEA-eligible: “I do have a bias of let’s not disable

kids and so when I’m writing a report or when I’m speaking to parents or when I’m

speaking to teachers, my bias is let’s see if we can give them some supports in the

regular education setting that could address this area and see if that helps improve

their performance in the achievement areas.”

      80. The hearing officer expressly found in her decision that “Dr. Christie’s

stated bias not to identify children as eligible for special education appears to have

been implicated in this particular Student’s eligibility determination.”

      81. The hearing officer found that Portland had violated the IDEA’s “Child

Find” requirement by denying him eligibility. She concluded, therefore, that

Portland had denied John a FAPE from December 2017 (the ineligibility decision)

through November 2019 (the eligibility decision), and awarded him a compensatory



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remedy requiring reimbursement for his Aucocisco tuition and related costs through

the first half of the 2020-2021 school year.

      82. On the alternative ground for relief asserted by the Does, that the

January 2020 IEP and placement offer were inappropriate, the hearing officer ruled

against the Does. In doing so, the hearing officer relied on a determination that “the

School District was prepared to offer the Student the Seeing Stars program, as well

as other programming, in the January 2020 IEP,” even though the text of the IEP

makes no mention of instruction in “Seeing Stars” specifically or “Lindamood-Bell”

programming in general.


                                  COUNT I
              (Recovery of Attorney’s Fees and Expenses: IDEA)

      83. Plaintiffs repeat the allegations contained in paragraphs 1-81.

      84. The Does were “prevailing parties” in the administrative due process

hearing, pursuant to the hearing officer’s final order, dated October 13, 2020.

      85. Under the IDEA, 20 U.S.C. § 1415(i)(3)(B), and parallel Maine Law, the

Does are entitled to an award of reasonable attorney’s fees and associated expenses

they incurred in connection with prevailing in the administrative proceedings.

      86. The Does respectfully request the opportunity to provide the Court with a

detailed petition describing the services and amounts for which they seek recovery

under section 1415(i)(3)(B).




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                                     COUNT II
                     (Intentional Discrimination: Section 504)

        87. Plaintiffs repeat the allegations contained in paragraphs 1-86.

        88. Portland is a recipient of federal financial assistance, and John qualifies

as an “individual with a disability” under Section 504, 29 U.S.C. § 705(20). As an

“individual with a disability,” John is otherwise qualified to receive educational

services from Portland.

        89. Section 504 prohibited Portland from intentionally discriminating against

John.

        90. As outlined above, Portland engaged in intentional discrimination against

John by denying him eligibility under the IDEA and denying him needed for

services from December 2017 to November 2019. The determination to deny him

eligibility for services resulted from disability-based animus, as admitted by

Dr. Christie.

        91. As a proximate result of this intentional discrimination, John Doe

suffered emotional distress and other damage by virtue of the lengthy delay in his

receipt of specialized services.

        92. The Rehabilitation Act provides remedies to “any person aggrieved by

any act or failure to act by any recipient of Federal assistance or Federal provider of

such assistance under [Section 504], 29 U.S.C. § 794a(a)(2).”




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      93. The Does, in their individual capacities, qualify as “person[s] aggrieved”

by Portland’s violation of Section 504.

      94. As a proximate result of the intentional discrimination outlined above,

the Does suffered an independent injury in the form of costs incurred to address

John’s emotional distress by enrolling him at Breakwater and hiring a therapist.


                                   COUNT III
                       (Discrimination: Title II of the ADA)

      95. Plaintiffs repeat the allegations contained in paragraphs 1-94.

      96. Portland qualifies as a “public entity” within the ambit of the ADA,

42 U.S.C. § 12131(1)(B), and John is a “qualified individual with a disability” under

the ADA by virtue of his learning disability, 42 U.S.C. § 12131(2).

      97. The ADA prohibited Portland from discriminating against John based on

his disability, 42 U.S.C. § 12132.

      98. As outlined above, Portland engaged in intentional discrimination

against John by denying him eligibility under the IDEA and denying him needed for

services from December 2017 to November 2019. The determination to deny him

eligibility for services resulted from disability-based animus, as admitted by

Dr. Christie.

      99. As a proximate result of this intentional discrimination, John Doe

suffered emotional distress and other damage by virtue of the lengthy delay in his

receipt of specialized services.




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      100. The ADA provides rights and remedies to “any person alleging

discrimination on the basis of disability in violation of [42 U.S.C. § 12132],”

42 U.S.C. § 12133.

      101. The Does, in their individual capacities, qualify as “person[s] alleging

discrimination” on the basis of Portland’s violation of 42 U.S.C. § 12132.

      102. As a proximate result of the intentional discrimination outlined above,

the Does suffered an independent injury in the form of costs incurred to address

John’s emotional distress by enrolling him at Breakwater and hiring a therapist.


                                 COUNT IV
              (Review of Portion of Due Process Determination:
                      IDEA and 20-A M.R.S.A. § 7207-B)

      103. Plaintiffs repeat the allegations contained in paragraphs 1-102.

      104. Federal and state special education laws authorize the Court to conduct

judicial review of IDEA administrative decisions and “to grant such relief as the

court determines is appropriate.” This authority includes the power to reverse or

vacate erroneous portion of a hearing officer’s order.

      105. For the reasons outlined above, the hearing officer erred as a matter of

law and fact in ruling against the Does on their alternative ground for relief by

determining that Portland’s January 2020 IEP and placement offer satisfied the

District’s obligation to provide John with a FAPE.




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      WHEREFORE, Plaintiffs the Does respectfully request that the Court enter

judgment in their favor against Portland Public Schools, and specifically to provide

them with the following relief:

      a)   to award the Does reimbursement of their attorney’s fees and

           costs pursuant to 20 U.S.C. § 1415(i)(3)(B) and MUSER § XVI.18;

      b)   to award the Does compensatory damages that are reasonable in

           the premises under section 504 and/or Title II of the ADA;

      c)   to reverse and/or vacate the portion of the hearing officer’s order

           finding that Portland’s January 2020 IEP and placement offer

           provided John with a FAPE;

      d)   to award the Does reimbursement of their attorney’s fees and

           costs in connection with this action under section 504, the ADA,

           and/or the IDEA; and

      e)   to award the Does such further relief as the Court may deem just

           and proper.




      Pursuant to Rule 38 of the Federal Rules of Civil Procedure,
      Plaintiffs demand a trial by jury of all claims so triable as a
      matter of right.




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Dated: December 9, 2020                  Respectfully submitted,

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